     CASE 0:10-cr-00195-JNE-JJK   Doc. 153   Filed 03/20/12   Page 1 of 2



                    UNITED STATES DISTRICT COURT
                        DISTRICT OF MINNESOTA
                    Criminal No. 10-195(JNE/JJK)

UNITED STATES OF AMERICA,         )
                                  )
                Plaintiff,        )
                                  )           ORDER
          v.                      )
                                  )
(1) RICHARD A. SAND               )
(3) BRENDA L. EPPERLY,            )
                                  )
                Defendants.       )


     On February 7, 2012 the government filed a motion to amend the

judgments of conviction for both defendants Sand and Epperly in the

above-captioned matter.     District Court document 143.          The motion

requests that the judgments for both defendants be amended to

include restitution for the two financial institution victims in

this case, Bank of America, loss of $1,100,000.00 and U.S. Bank,

loss of $189,481.54.    These same restitution amounts were ordered

as to co-defendant Donald Krause in his judgment of conviction.

     The government further requested that the Court order the

defendants to pay the restitution jointly and severally.                    Both

defendants had agreed to pay restitution in the full amount of the

loss resulting from the scheme, as part of their plea agreements.

See Sand Plea Agreement, ¶ 29; Epperly Plea Agreement, ¶ 24.

     Even though more than 90 days have elapsed since the date of

sentencing, the Court retains its authority to amend the judgments

to now order restitution.     See Dolan v. United States, 130 S. Ct.

2533, 2539 (2010); United States v. Ballentine, 569 F. 3d 801, 806-
     CASE 0:10-cr-00195-JNE-JJK     Doc. 153   Filed 03/20/12   Page 2 of 2



807 (8th Cir. 2009). The defendants have not filed an objection to

the government’s motion.

     ACCORDINGLY, IT IS HEREBY ORDERED that the judgments as to

both defendants Sand and Epperly shall be amended to include an

Order of Restitution on page 5 of both judgments as follows.

 Name and Address of Payee        Total Loss      Restitution        Priority
                                                    Ordered         Percentage
Bank of America              $1,100,000.00       $1,100,000.00
2595 W. Chandler Blvd.
AZ-804-01-06
Chandler, AZ 85224
U.S. Bank                    $189,481.54         $ 189,481.54
800 Nicollet Mall
Minneapolis, MN 55402


TOTAL                        $1,289,481.54       $1,289.481.54     0.00%




Date: March 20, 2012                s/ Joan N. Ericksen
                                    The Honorable Joan N. Ericksen
                                    United States District Judge




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